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                       UNITED STATES BANKRUPTCY COURT
                                    FOR THE
                          DISTRICT OF MASSACHUSETTS


  In re                                               IN PROCEEDINGS UNDER
  ANDREW GREENHUT,                                    CHAPTER 13
                 Debtor                               CASE NO.: 19-10782


              MOTION OF DEBTOR TO AMEND CHAPTER 13 PLAN

     NOW COMES, the Debtor, Andrew Greenhut, and hereby moves this Honorable

 Court, pursuant to 11 U.S.C. § 1323(a), MLBR 3015-1 and Chapter 13 Rule 13-10(b), to

 allow him to amend his Chapter 13 Plan prior to confirmation. As grounds therefore, the

 Debtor states the following:


     1. The Debtor has amended his Chapter 13 Plan to correct certain typographical and

         arithmetic errors that were identified by the Chapter 13 Trustee during the

         Meeting of Creditors held on May 2, 2019 and in her Objection to the Debtor’s

         Original Chapter 13 Plan filed on May 6, 2019, as well as those identified by

         Debtor’s Counsel thereafter.


     2. The Plan Payment Amount and the Plan Term remains unchanged from the

         Original Chapter 13 Plan.
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     WHEREFORE, the Debtor respectfully requests that the Court allow the amendment

 of his Chapter 13 Plan and grant all other relief deemed just and proper.


                                              ANDREW GREENHUT, Debtor
                                              By his Attorney,

 Date: 5/6/2019                               /s/ Richard N. Gottlieb, Esq.
                                              Richard N. Gottlieb, Esq. BBO# 547970
                                              Law Offices of Richard N. Gottlieb
                                              Ten Tremont Street
                                              Suite 11, 3rd Floor
                                              Boston, MA 02108
                                              (617) 742-4491
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                         UNITED STATES BANKRUPTCY COURT
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  ANDREW GREENHUT,                                     CHAPTER 13
                 Debtor                                CASE NO.: 19-10782


                             CERTIFICATE OF SERVICE

        I, Richard N. Gottlieb, Esq., do hereby certify that I have this day served a copy

 of the Motion of Debtor to Amend Chapter 13 Plan and a copy of the Debtor’s First

 Amended Pre-Confirmation Chapter 13 Plan dated March 11, 2019, by First-class mail

 postage paid and/or electronically via the CM/ECF Electronic Messaging System on the

 persons listed below.


 Date: May 6, 2019                            /s/ Richard N. Gottlieb, Esq.
                                              Richard N. Gottlieb, Esq. BBO # 547970
                                              Law Offices of Richard N. Gottlieb
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                                              Boston, Massachusetts 02108
                                              (617) 742-4491
                                              rnglaw@verizon.net
 PERSONS SERVED:

 Carolyn Bankowski, Esq.
 Chapter 13 Trustee                               Capital One
 (Served via CM/ECF)                              Attn: Bankruptcy
                                                  Po Box 30285
 Alex Mattera, Esq.                               Salt Lake City, UT 84130
 Partridge, Snow and Hahn, LLP
 Counsel to Gita Srivastava                       Chase Card Services
 (Served via CM/ECF)                              Correspondence Dept
                                                  Po Box 15298
 Barclays Bank Delaware                           Wilmington, DE 19850
 Attn: Correspondence
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 Wilmington, DE 19899
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